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8                                 UNITED STATES DISTRICT COURT
9                               SOUTHERN DISTRICT OF CALIFORNIA
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11   THE ESTATE OF PAUL SILVA, et al.,                    Case No.: 18cv2282-L (MSB)
12                                      Plaintiffs,
                                                          ORDER GRANTING PLAINTIFFS’ EX
13   v.                                                   PARTE MOTION TO AMEND
                                                          SCHEDULING ORDER [ECF No. 62]
14   CITY OF SAN DIEGO, et al.,
15                                   Defendants.

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17         On May 8, 2019, Plaintiffs filed an ex parte motion to amend the scheduling
18   order, in which they request a 45-day extension of the May 8, 2019 deadline to file a
19   motion to join parties or amend the pleadings. (See ECF No. 62 at 2.) While Plaintiffs’
20   counsel, Grace Jun, notes in her declaration that both the City of San Diego Defendants
21   (“City Defendants”) and the County of San Diego Defendants (“County Defendants”)
22   notified her of their objection to this request, only the City Defendants filed an
23   opposition on May 10, 2019. (See ECF No. 62-1 at ¶ 16; ECF No. 63.)
24         In support of Plaintiffs’ request, Plaintiffs’ counsel informs the Court that Plaintiffs
25   propounded written discovery to both City and County Defendants on February 21,
26   2019. (ECF No. 62-1 at ¶ 5.) On March 29, 2019, City Defendants provided documents
27   and body worn camera footage. (Id. at ¶ 6.) On April 8, 2019, Plaintiffs’ counsel
28   received County Defendants’ documents, audio-recorded witness interviews, video of
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1    the attempted cell extraction, and 36 hours of video footage of Decedent Paul Silva in
2    his cell. (Id. at ¶ 7.) Plaintiffs took the deposition of the County of San Diego’s person
3    most knowledgeable on April 29, 2019. (Id. at ¶ 8.) After reviewing the discovery
4    provided in Defendants’ responses, and based on information obtained in the County’s
5    deposition, Plaintiffs’ counsel believe they have obtained nearly all of the information
6    necessary to amend their complaint, but they wish to propound written discovery to
7    identify the jail deputies who conducted safety checks on Decedent’s jail cell. (Id. at ¶¶
8    14, 17-18.) Plaintiffs’ counsel further explains that, besides working on this case, her
9    time has been occupied with substantial work in other cases (detailed in her
10   declaration) since she received Defendants’ discovery responses. (Id. at ¶ 15.)
11          The City Defendants oppose Plaintiffs’ motion, arguing that Plaintiffs have both
12   failed to demonstrate good cause or execute due diligence, and it is untimely. (ECF No.
13   63 at 3.) Specifically, City Defendants note that Plaintiffs served written discovery nearly
14   two weeks after the Case Management Conference, they did not specifically “seek
15   discovery ascertaining the names of the individuals within Central Jails who had contact
16   with Paul Silva,” and they “failed to make timely review of [Defendants’ responses to
17   written discovery] a priority.” (Id. at 3-4.) They also point out that the motion was not
18   brought seven days prior to the deadline as required by Judge Berg’s Chambers Rules.
19   (Id. at 4-5.)
20          While the Court recognizes that, strictly speaking, Plaintiffs could have acted
21   more quickly to file written discovery and review the documentary and voluminous
22   video discovery they received, the Court also recognizes that attorneys have multiple
23   clients and will not always be able to complete tasks at the earliest opportunity. On the
24   whole, it appears to the Court that Plaintiffs’ counsel has been diligent and made
25   substantial progress toward discovery of the information needed to amend the
26   complaint. The Court also notes that Plaintiffs’ counsel’s declaration explains that she
27   and co-counsel finished viewing the video surveillance on May 7, 2019, at which time
28   they “determined that deputies conducting safety checks at each cell may have
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1    observed Paul decompensating and in psychiatric distress, but failed to summon
2    medical or psychiatric assistance.” (ECF No. 62-1 at ¶ 13.) The identification of the
3    deputies appears to be distinct from the nurse that Plaintiffs also wish to add as a party,
4    who Plaintiffs discussed with Defendants on April 29, 2019 according to the declaration
5    of counsel for County Defendants. (ECF No. 63-1 at ¶ 4.)
6          For the foregoing reasons, the Court therefore finds good cause to continue the
7    deadline and to excuse Plaintiffs’ failure to file the instant motion seven days prior to
8    the May 8, 2019 deadline, and therefore GRANTS Plaintiffs motion. Any motion to join
9    parties, amend the pleadings, or add pleadings must be filed on or before June 21, 2019.
10         IT IS SO ORDERED.
11   Dated: May 13, 2019
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